Case 2:05-md-01657-EEF-DEK Document 15765-3 Filed 09/04/08 Page 1 of 1

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

] MDL Docket No. 1657
In Re: VIOXX
SECTION L
PRODUCTS LIABILITY LITIGATION ]

JUDGE FALLON
This document relates to
Anthony Mercurio, Docket #06-1512 ]
MAGISTRATE JUDGE KNOWLES

ORDER
Considering the Motion to Withdraw Document #15660:
IT IS ORDERED that Document #15660 is withdrawn.

NEW ORLEANS, LOUISIANA, this day of , 2008.

ELDON E, FALLON
UNITED STATES DISTRICT JUDGE
